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FILED

UNITED STATES DISTRICT COURT : WAR 13 2018

SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

David J. Bradley, Clerk of Court

Robert Alan Fratta, Petitioner X
Ve X CIVIL ACTION No. 4:13-CV-03438

Lorie Davis, Respondent
ADVISORY MOTION

To the Honorable Judge Andrew Hanen:

Comes now the Petitioner, Robert Alan Fratta, and files this Advisory Motion
pro se in first person narrative.

On 12/10/18 this Court, Judge Andrew Hanen presiding, thankfully granted
old - previously ignored by retired Judge Harmon — motions for appointment of
additional counsel. on 12/11/18 and 12/21/18 I briefly met with new counsel
Tim Gumkowski and Tivon Schardl respectively. In my letters to them, as well
as the 12/21/18 visit, I asked them to please focus on filing an FRCP 60(b)
motion to this Court. I explained that I previously had to file one myself
(See Dkts 87 & 88) because my then sole attorney James Rytting refused to,
and that Judge Harmon so greatly detested me that she ordered the Clerk to
strike those 2 filings from my records rather than recognizing their merits
and either ruling on them or ordering Rytting to re-write and file it all for
me (See Dkt 90). I told Gumkowski and Schardl I also included a copy of my
60(b) filings with my then pending filing at the U.S. Supreme Court, and for
them to please get a copy of that pro se Petition for Writ of Certiorari and
its Appendices A thru M - because everything I wanted and needed them to read
and file about had been painstakingly included in those Appendices. Rytting
hasn't communicated with me in many months, and I've not heard anything back

from Gumkowski or Schardl to know what's going on. I don't know what this
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Court will deem as "reasonable time" for them to file from the time of their
appointment. So this motion is simply to notify the Court that I've asked
the recently appointed attorneys to file a motion 60(b) on the same issues

I filed in mine and my certiorari (which deal with the legal insufficiency,
etc). Should they not get back with me soon and/or not file the issues

I've requested, I will have no choice but to re-file a 60(b) pro se, in

the interest of justice.

Respectfully submitted,

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Robert Alan Fratta, Petitioner
Polunsky Unit, #999189

3872 FM 350 South

Livingston, TX 77351
